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                                                                           FILED
                                                                    e U.3. DISTRICT COURT
                                                                    EASTERN DISTRICT OF TEXAS


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    NITED STATES DISTRICT COU T                             EASTERN DISTRICT OF TEXAS
                                                                   BY
                                                                   DEPUTY
  UNITED STATES OF AMERICA                       §
                                                 §
  versus                                         §           CASE NO. l:20-CR-33
                                                 §
  GRIGORIY T. RODONAIA §

                                    VERDICT OF THE JURY

           As to the offense charged in Count One of the Indictment against Grigoriy T. Rodonaia

  ( Defendant ), Health Care Fraud, we, the Jury, fmd:

  Defendant




           As to the offense charged in Count Two of the Indictment, Health Care Fraud, we, the

  Jury, fmd:

  Defendant




           As to the offense charged in Count Three of the Indictment, Health Care Fraud, we, the

  Jury, fmd:

  Defendant




           As to the offense charged in Count Four of the Indictment, Health Care Fraud, we, the

  Jury, fmd:

  Defendant
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          As to the offense charged in Count Five of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                             u/ / /
                                             (Guilty)              (Not Guilty)

          As to the offense charged in Count Six of the Indictment , Health Care Fraud, we, the Jury,

  find:

  Defendant
                                          Q                  Lky
                                             (Guilty)        (Not Guilty)

          As to the offense charged in Count Seven of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                           k u /~ y
                                             (Guilty)       (Not Guilty)

          As to the offense charged in Count Eight of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                          ( Ui / /
                                             (Guilty)       (Not Guilty)

          As to the offense charged in Count Nine of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                          Ai / / /
                                             (Guilty)              (Not Guilty)
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          As to the offense charged in Count Ten of the Indictment, Health Care Fraud, we, the Jury,

  find:

  Defendant
                                                -         //
                                             (Guilty) (Not Guilty)

          As to the offense charged in Count Eleven of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                         (<( ( ! /                          /
                                             (Guilty)' (Not Guilty)

          As to the offense charged in Count Thirteen of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant

                                             (Guilty) (Not Guilty)

          As to the offense charged in Count Fourteen of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                                                f\l / (ki> / h
                                             (Guilty)              (Not Guilty)

          As to the offense charged in Count Fifteen of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                                                Nsrt (ku/iw
                                             (Guilty)              (Not Guilty)
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         As to the offense charged in Count Sixteen of the Indictment, Health Care Fraud, we, the

  Jury, find:

  Defendant
                                        (r i l-fy
                                            (Guilty) (Not Guilty)

         As to the offense charged in Count Seventeen of the Indictment, Aggravated Identity Theft,

  we, the Jury, find:

  Defendant
                                         iru, f iy
                                            (Guilty) (Not Guilty)

         As to the offense charged in Count Eighteen of the Indictment, Aggravated Identity Theft,

  we, the Jury, find:

  Defendant
                                        Gu</
                                            (Guilty) (Not Guilty)

         As to the offense charged in Count Nineteen of the Indictment, Aggravated Identity Theft,

  we, the Jury, find:

  Defendant
                                       (y /f-fa
                                            (Guilty) (Not Guilty)

          As to the offense charged in Count Twenty-one of the Indictment, Aggravated Identity

  Theft, we, the Jury, find:

  Defendant
                                                              hJ i (j~L ( / y
                                            (Guilty)
                                            (Guilty) (Not Guilty) '
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         As to the offense charged in Count Twenty-two of the Indictment, False Statements in

  Relation to Health Care Matters, we, the Jury, find:

  Defendant
                                        &Ui
                                           (Guilty) (Not Guilty)

         As to the offense charged in Count Twenty-six of the Indictment, Receipt of a Kickback

  for a Referral to a Federal Health Care Program, we, the Jury, find:

  Defendant
                                                /- y
                                           (Guilty) (Not Guilty)

         As to the offense charged in Count Twenty-nine of the Indictment, Receipt of a Kickback

  for a Referral to a Federal Health Care Program, we, the Jury, find:

  Defendant

                                            (Guilt               (Not Guilty)
